
DICKINSON, Justice,
for the Court.
¶ 1. In this negligence, defective-design and faulty product-inspection case, the question presented is whether the trial court abused its discretion when it dismissed the plaintiffs claims without prejudice, pursuant to Mississippi Rule of Civil Procedure 41(b). Because we find ample evidence in the record to support the trial court’s decision, we affirm.
FACTS AND PROCEDURAL HISTORY
¶ 2. On April 18, 2000, Durenda Ramsey’s vehicle rear-ended Gregory Hill while Hill was driving a 1989 Ford backhoe. On May 18, 2000, Hill filed suit against Ramsey for the injuries he allegedly suffered as a result of the wreck. On April 17, 2003, Hill amended his complaint to assert products-liability claims against New Holland North America, Inc. (fik/a Ford Motor Co.), Deviney Equipment Company, and John Does 1-10. New Holland answered the amended complaint on August 12, 2008. Hill filed a motion for enlargement of time to serve Deviney Equipment,1 and Deviney answered the amended complaint on September 4, 2003.
¶ 3. New Holland served Hill with written discovery on October 9, 2003. When Hill did not respond in a timely manner, New Holland filed a motion to compel on February 17, 2004. Hill filed a motion for enlargement of time to respond to the discovery requests on March 4, 2004, and he served his response on March 22, 2004.2 An agreed order authorizing disclosure of Hill’s protected health information was entered on August 23, 2004, and New Holland proceeded to serve several subpoenas on various health providers in September and October, 2004.
¶ 4. No further action was taken in the case until April 27, 2005, when Deviney filed a motion for judgment on the pleadings. Hill filed three motions for enlargement of time to respond to Deviney’s motion and finally answered on August 3, 2005. No other action of record was taken until March 1, 2007, when Ramsey’s attorney filed a motion for status conference. New Holland followed with a motion to dismiss for failure to prosecute on March 22, 2007, stating that there had been no real activity in the case for almost four years. Hill responded to the motions, and the trial court heard oral argument on March 30, 2007. The trial court subsequently entered an order dismissing Hill’s *122claims against New Holland and Deviney without prejudice on April 13, 2007.
¶ 5. Hill argues on appeal that (1) the trial court erred in dismissing his case for lack of prosecution under Mississippi Rule of Civil Procedure 41(b), and (2) the trial court abused its discretion in dismissing his claims under the circumstances.
DISCUSSION
¶ 6. “Any court of law or equity may exercise the power to dismiss for want of prosecution. This power, inherent to the courts, is necessary as a means to ‘the orderly expedition of justice’ and ‘the court’s control of its own docket.’ ” Cucos, Inc. v. McDaniel, 938 So.2d 238, 240 (Miss. 2006) (citations omitted). “It has been clear since the adoption of the Mississippi Rules of Civil Procedure that the granting of motions to dismiss is a matter within the discretion of the trial court.” Id. (citations omitted). “There is no set time limit on the prosecution of an action once it has been filed, and dismissal for failure to prosecute will be upheld only ‘where the record shows that a plaintiff has been guilty of dilatory or contumacious conduct.’” AT &amp; T v. Days Inn, 720 So.2d 178, 180 (Miss.1998) (quoting Watson v. Lillard, 493 So.2d 1277, 1279 (Miss.1986)). “This Court will not disturb a trial court’s ruling on a dismissal for want of prosecution unless it finds an abuse of discretion.” Cucos, 938 So.2d at 240 (citations omitted). But see, Ill. Cent. R.R. Co. v. Moore, 994 So.2d 723, 2008 Miss. LEXIS 422 (Miss. Sept. 4, 2008) (holding that the trial judge abused his discretion when he failed to dismiss the action).
¶ 7. No abuse of discretion exists in this case as to the trial court’s finding that Hill’s conduct was dilatory. It is clear from the record that the only action taken by the plaintiff between filing the amended complaint and this appeal was reactionary. There is no evidence in the record that Hill ever noticed one deposition, served any discovery requests, issued a subpoena, or otherwise initiated discovery. Even if his actions taken in response could somehow be viewed as sufficient prosecution of his claim, it is undisputed that no action of record took place between August 2005 and March 2007, which is sufficient delay, standing alone, to warrant dismissal. The trial judge must “control [his] own docket” and strive for the “orderly expedition of justice,” and therefore did not abuse his discretion when he dismissed the claims. Id. at 240.
¶ 8. Hill relies almost exclusively on Cucos, Inc. v. McDaniel, 938 So.2d 238 (Miss. 2006), to support his argument that the trial judge abused his discretion. However, Hill’s reliance on Cucos is misplaced for two reasons. First, Cucos dealt with a motion to dismiss under Mississippi Rule of Civil Procedure 41(d),3 and not with a Rule 41(b)4 motion. In Cucos, this Court upheld the trial court’s decision to reinstate the plaintiffs dismissed claims after he successfully filed a locally acceptable “action of record” under Rule 41(d). Id. at *123247. However, it is clear from the language of the Rules that no such “action of record” safeguard exists under Mississippi Rules Civil Procedure Rule 41(b).
¶ 9. Secondly, the underlying factual issues in Ciicos are of no real importance. Rather, this Court found that the trial judge did not abuse his discretion in reinstating the claim. The same standard of review is applicable here, and it is clear from the record that the trial court did not abuse its discretion when it decided to dismiss Hill’s claims. Thus, Hill’s reliance on Cucos is misplaced, and offers no support for his position.5
¶ 10. Hill argues in his reply brief that the trial judge’s dismissal of his claims against New Holland and Deviney without prejudice was an extreme sanction, because the applicable statute of limitations had run at the time of dismissal. This issue is meritless. It is elementary that, unless process is not timely served, the statute of limitations is tolled upon the filing of the complaint, and does not begin to run again until litigation has ended.
¶ 11. The dissent provides an excellent analysis of a case that is not before us today. Had the trial judge dismissed this case with prejudice, we might agree with the dissent’s logic. However, the case before us today involves a dismissal without prejudice, which is hardly a “nuclear option.”
¶ 12. The dissent claims that “we have consistently required that a trial court’s dismissal for failure to prosecute necessarily abuses its discretion when it does not first consider lesser sanctions.” However, all of the cases cited by the dissent involved dismissals with prejudice. Indeed, the “common thread” running through all of the cases is not, as the dissent incorrectly perceives, that “Rule 41(b) dismissal should not be employed as a first response, but only when all other attempts to move the case along have proven fruitless”; rather, it is that all of the cases involved dismissals with prejudice.
¶ 13. Moreover, Cox v. Cox, 976 So.2d 869 (Miss.2008), a case on which the dissent relies heavily, specifically states: “This Court must consider whether lesser sanctions would better serve the interests of justice. Lesser sanctions include ... ‘dismissal without prejudice....’” Id. at 876. Thus, the dissent’s claim that this Court “consistently” has required trial judges to consider lesser sanctions on the record before dismissing a case without prejudice is incorrect, as Cox clearly states that dismissal without prejudice is a lesser sanction.
CONCLUSION
¶ 14. The trial court did not abuse its discretion in this case, as there is clear evidence of unreasonable delay by the plaintiff. We therefore affirm the decision of the Noxubee County Circuit Court.
¶ 15. AFFIRMED.
CARLSON, P.J., RANDOLPH, LAMAR, CHANDLER AND PIERCE, JJ., CONCUR. KITCHENS, J., DISSENTS WITH SEPARATE WRITTEN OPINION JOINED BY WALLER, C.J., AND GRAVES, P.J.

. The record does not indicate whether or not the motion was granted, but Deviney does not argue defective service of process.


. New Holland claims that, even after Hill finally responded to the discovery requests, he responded only to the interrogatories and not to the request for production of documents.


. Rule 41(d) states, in pertinent part: "In all civil actions wherein there has been no action of record during the preceding twelve months, the clerk of the court shall mail notice to the attorneys of record that such case will be dismissed by the court for want of prosecution unless within thirty days following said mailing, action of record is taken or an application in writing is made to the court and good cause shown why it should be continued as a pending case.” Miss. R. Civ. P. 41(d) (emphasis added).


. Rule 41(b) states, in pertinent part: "For failure of the plaintiff to prosecute or to comply with these rules or any order of court, a defendant may move for dismissal of an action or of any claim against him.” Miss. R. Civ. P. 41(b).


. The only other case cited by Hill in his initial brief is Vosbein v. Bellais, 866 So.2d 489 (Miss.Ct.App.2004), in which the Court of Appeals ultimately affirmed the trial court's dismissal of the action under Rule 41(b), with prejudice. Id. at 494.

